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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

 Plaintiff,
                                                         CRIMINAL NO. 07-488 (ADC)
                v.

 [42] ELIZABETH RIVERA-DIAZ,

 Defendant.


                          REPORT AND RECOMMENDATION

       Defendant Elizabeth Rivera-Díaz was charged in Counts One (1) through Five (5), and

Count Eleven (11) of an Indictment and she agreed to plead guilty to Count One of the

Indictment. Count One charges that, beginning in or about the year 2005, exact date

unknown, and continuing up to and until the return the instant indictment in Trujillo Alto,

Carolina and San Juan, District of Puerto Rico and elsewhere, and within the jurisdiction of

this Court, Elizabeth Rivera-Díaz and other defendants, did knowingly and intentionally,

conspire, combine and agree with each other and others known and unknown to the Grand

Jury, to commit offenses against the United States, that is, to possess with intent to distribute

one (1) kilogram or more of heroin, a Schedule I, Narcotic Controlled Substance; fifty (50)

grams or more of cocaine base hereinafter referred to as crack cocaine), a Schedule II

Controlled Substance, five (5) kilograms or more of cocaine, a Schedule II, Controlled

Substance; and detectable amounts of marihuana, a Schedule I, Controlled Substance,

within one thousand (1,000) feet of the real property comprising a housing facility owned

by a public housing authority, that is, Nuestra Señora de Covadonga Public Housing Project;

or of a public school, that is the Head Start Program Located within Nuestra Señora de

Covadonga Public Housing Project all in violation of Title 21, United States Code, Sections

846, 845(a)(1), (b)(1)(C), (b)(2), and 860.
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         On November 18, 2008, defendant appeared before this Magistrate Judge, since the

Rule11 hearing was referred by the Court. Defendant was provided with a Waiver of Right to

Trial by Jury, which she signed and agreed upon voluntarily after examination in open court,

under oath.

         Defendant indicated and confirmed her intention to plead guilty to Count One of the

Indictment, upon being advised of her right to have said proceedings before a district judge

of this court.1 Upon verifying through defendant’s statement her age, education and any

relevant aspect as to the use of medication, drugs, alcohol or substance dependency, and

psychological or psychiatric condition2 , to ascertain her capacity and ability to understand,

answer and comprehend the interactive colloquy with this Magistrate Judge, a determination

was made as to defendant’s competency and ability to understand the proceedings.

         Having further advised defendant of the charges contained in above-stated Count One,

she was examined and verified as being correct that: she had consulted with her counsel,

Guillermo A. Macari-Grillo, prior to the hearing for change of plea, that she was satisfied with

the services provided by her legal representative and had time to discuss with him all aspects

of the case, insofar, among other things, regarding the change of plea, the consent to proceed

before a United States Magistrate Judge, the content of the Indictment and the charges

therein, her constitutional rights and the consequences of the waiver of same.




         1
           The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading
Guilty (Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made part of the record.

         2
            Defendant stated she is receiving some psychological treatment. Defense counsel indicated that, regardless of
this fact, defendant is competent to understand the proceedings. Based on defendant’s demeanor and coherent answers
to our questions, a determination was made that she is competent to understand the proceedings.
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         Defendant was specifically appraised by this Magistrate Judge that, upon withdrawing

her initial plea of not guilty and now entering a plea of guilty to the charge specified, she was

waiving her right to a public, speedy, and a trial by jury constituted by twelve jurors who have

to unanimously agree to a verdict. She was also waiving her right to be presumed innocent and

for the government to meet the obligation of establishing her guilt beyond a reasonable doubt.

Furthermore, she was waiving her right during said trial to confront the witnesses who were

to testify against her and be able to cross-examine them, through counsel at said trial, as well

as present evidence on her behalf. She was also waiving the right to compel the attendance of

witnesses and that subpoenas be issued to have them appear in court to testify. Defendant was

specifically appraised of her right to take the stand and testify, if she so decided, or not to

testify, and no inference or decision as to her guilt could be made from the fact if she decides

not to testify. Defendant was also explained her right not to incriminate herself; that upon

such a waiver of all above-discussed rights a judgment of guilty and her sentence were to be

based on her plea of guilty, and she would be sentenced by the judge after considering the

information contained in a pre-sentence report.

         As to all the above, defendant provided an individualized and positive acknowledgment

of each and every waiver and, with the assistance of her counsel, Attorney Macari-Grillo,

indicated she freely and voluntarily waived those rights and understood the consequences.

During all this colloquy, defendant was made aware that she could freely request from this

Magistrate Judge any additional clarification, repetition, or ask questions and that she may

consult with her attorney at any given time as to any issue.

         Defendant expressed her understanding of the penalties prescribed by statute for the

offenses as to which she was pleading guilty. The penalty for the offense charged in Count One

is term of imprisonment of not less than (10) years and up to life imprisonment, a fine not to
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exceed four million dollars ($4,000,000.00), a term of supervised release of at least ten (10)

years in addition to any term of incarceration. The Court must also impose a mandatory

penalty assessment of one hundred dollars($100.00), per count, to be deposited in the Crime

Victim Fund.

         Based on the stipulated and agreed amount of narcotics possessed by the defendant,

that is, at least three point five (3.5) kilograms but less than five (5) kilograms of cocaine, the

penalty for the offense shall be, a term of imprisonment of not less than five (5) years and not

more than eighty (80) years, and a fine not to exceed two million ($2,000,000.00) a term of

supervised release of at least eight (8) years, all pursuant to Title 21, United States Code,

Section 845(b)(1)(B) and 860.

         Having ascertained directly from defendant that she had not been induced in any way

to plead guilty, that no one had forced her in any way to plead guilty, nor that she had been

offered any reward or any other thing of value to get her to plead guilty, the document entitled

“Plea Agreement” pursuant to Rule 11(c)(1)(A) and (B) FRCP (“the Agreement”) and the “Plea

Agreement Supplement” were shown to defendant, verifying her signature and initials on each

and every page.3

         Pursuant to said Agreement, and insofar as Count One, as to which defendant already

was aware of the maximum possible penalties, defendant was appraised that it was up to the

sole discretion of the sentencing court what the sentence to be imposed on her will be.

Defendant was specifically informed that if the sentencing court were to impose a sentence

which turned out to be higher or more severe than the one he might be expecting, for said




        3
          Defendant and her counsel acknowledged having discussed the “Plea Agreement Supplement” and its
consequences.
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reason alone, defendant would have no grounds for the court to allow her to withdraw her plea

of guilty.

         The above-captioned parties’ estimate and agreement that appears on page four (4),

paragraph seven (7) of the Agreement, regarding the possible applicable advisory Sentencing

Guidelines, were further elaborated and explained. The parties stipulate that, as part of the

plea agreement, the defendant is accepting responsibility for at least three point five (3.5)

kilograms but less than five (5) kilograms of cocaine. Pursuant to U.S.S.G. § 2D1.1(5), the Base

Offense Level is of Thirty (30). Pursuant to U.S.S.G. § 2D1.2(a)(1), a two (2) level increase is

warranted for protected location. Pursuant to U.S.S.G. § 3B1.2(b), a decrease of two (2) levels

is agreed for her role. Pursuant to U.S.S.G. § 3E1.1, a decrease of three (3) levels is agreed for

acceptance of responsibility. Therefore, the Total Offense Level is of Twenty-Seven (27),

yielding an imprisonment range of seventy (70) to eighty-seven (87) months, assuming a

Criminal History Category of One.

         The parties agree to recommend to the Court, that the defendant be sentenced to serve

a term of imprisonment for seventy (70) months, or the lower end of the applicable guidelines,

whichever is greater. Unless the defendant complies with the provisions of U.S.S.G. 5C1.2, any

recommendation for a term of imprisonment of less than seventy (70) months would

constitute a material breach of the plea agreement. The parties understand that the Court is

not bound by the recommendation and that the Court, after consideration of the factors

contemplated within the U.S.S.G. and Title 18, United States Code, Section 3553 et seq., may

sentence the defendant to any amount of time up to and including the statutory maximum for

the offense to which she plead, and that such a sentence will not invalidate this agreement.

         Pursuant to paragraph nine (9), should the defendant qualify under the requirements

set for the in U.S.S.G. § 5C1.2, she could be entitled to a further two (2) point reduction;
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however, presently the United States has insufficient information concerning whether the

defendant would meet the criteria.

         Pursuant to paragraph eleven (11), the parties do not stipulate any assessment as to the

defendant’s Criminal History Category.

         At sentencing, the United States agrees to recommend a dismissal of the remaining

counts of the Indictment which were filed against the defendant.

         As part of the written Agreement, the government, the defendant, and her counsel also

agreed they are aware that the Sentencing Guidelines are no longer mandatory and are thus

considered advisory.

         The government presented to this Magistrate Judge and to defendant, assisted by her

counsel, a summary of the basis in fact for the offenses charged and the evidence the

government had available to establish, in the event defendant had elected to go to trial, the

commission of the offense, beyond a reasonable doubt. Counsel and defendant acknowledged

the evidence of the government was fully disclosed to them and previously discussed between

the two. Defendant was able to understand this explanation and agreed with the government’s

submission.

         Defendant was explained that the Agreement with the government does not bind any

other district, except the district of Puerto Rico, and it contained all the promises, terms and

conditions which defendant, her attorney and the government, have entered.

         Having once more ascertained that defendant has indicated not being induced to plead

guilty, and was entering such a plea because in fact she is guilty, without any promises or

predictions being made as to the sentence to be imposed by the court, defendant was informed

that parole has been abolished under the advisory Sentencing Reform Act and that any

sentence of imprisonment would be served, without her being released on parole. Defendant
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was additionally informed that prior to sentence, the sentencing judge will have a pre-sentence

report and that it would be made available to her, to her counsel and to the government, so

that they be allowed to correct or object to any information contained in said report which was

not accurate. Depending on the facts found by the court at the time and the sentence imposed,

both defendant and the government may appeal the sentence of the court.4

          Count One of the Indictment was read in open court to defendant and she stated she

understood the charges and that she was pleading guilty to Count One. Defendant was shown

a written document entitled Statement of Facts, which had been signed by defendant and her

counsel and is attached to the Agreement, wherein the signature of counsel for the government

also appears. Defendant was provided an opportunity to see and examine same, indicating

she availed herself of the opportunity to further discuss same with her attorney and then she

positively stated that what was contained in Count One was what she had done and to which

she was pleading guilty during these proceedings. Thereafter, defendant expressed in no

uncertain terms that she agreed with the government’s evidence as to her participation in the

offense. Thereupon, defendant indicated she was pleading guilty to Count One of the

Indictment in Criminal No. 07–488 (ADC).

          This Magistrate Judge after having explained to the defendant her rights, ascertaining

that she was acting freely and voluntarily to the waiver of such rights and in her decision of

pleading guilty, with full knowledge of the consequences thereof, and there being a basis in fact

for such a plea, is recommending that a plea of guilty be entered as to Count One of the

Indictment in Criminal No. 07-488 (ADC).




          4
            The right to appeal is subject to certain limitations allowed by law since the Agreement also includes in paragraph twenty (20)
a waiver of appeal. Defendant acknowledged discussing the waiver of appeal with her counsel and stated she understood the consequences
of the same.
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         IT IS SO RECOMMENDED.

         The sentencing hearing will be scheduled promptly, before Honorable Aida M. Delgado-

Colón, District Court Judge.

         San Juan, Puerto Rico, this 20th day of November of 2008.



                                                         s/ CAMILLE L. VELEZ-RIVE
                                                         CAMILLE L. VELEZ-RIVE
                                                         UNITED STATES MAGISTRATE JUDGE
